           Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 1 of 9 Page ID
                                            #:2572

Andrea Cross

From:                                           Andrea Cross
Sent                                            Thursday, March 25, 202111:51 AM
To:                                             Artur Elizarov
Subject:                                         RE: Unisom




Understood )we'll note our file.



                        WARNING! WIRE FRAUD ADVISORY
      Before sending funds, always call your Escrow team to vcrftv wire inlbr.maLio




                                 ESC          $,9rHE1wSST




                                       Andrea Cross
                                    Senior Escrow Officer


                    94.10 Santa Monica Bud. Suite 310, Beverly l•:l:ills, CA. 90210
                         I'. (310)402-5553ext.2071 jE-Fex. (310)402'5556
                                       Direct. (310)402-5170
                                      nvw,escrowof1hevesr corn

                                             91121 10
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      We   are always looking for ways to improve our service. Please take amoment to
                   complete this short survey about your recent experience.




From: Artur Elizarov [maiIto:artur.elizarovgmail.com]
Sent: Thursday, March 25, 202111:43 AM
To: Andrea Cross <andrea@escrowofthewest.com>
Subject: Re: Unisom


Let's close then. Well now it makes sense. These guys are amess. No more communication with Peter. That
clears up my agreement with other unisom cause Ialso didn't understand why the bank is involved Jesus!

Art                                                                                               EXHIBIT

                                                                                                   26
On Thu, Mar 25, 2021 at 2:41 PM Andrea Cross <andrea@escrowofthewest,com> wrote:


                                                                                      1
                                                                                               EOTW_000146

                                                                                          Exhibit LL - 1
     Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 2 of 9 Page ID
                                      #:2573
Attached is the Prelim    -




As of 3/3/21, Unisom is the only secured lien




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                                   Andrea Cross


                               Senior Escrow Officer




                9440 Santa Monica Blvd. Suite 310. Beverly Hills CA. 902 tO


                    P. (310)402-5555 ext. 20711 l-Fax. (310) 402-5556


                                  Di r
                                     ect. (310) 402-5470


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                                                                                         EOTW_000147

                                                                                    Exhibit LL - 2
    Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 3 of 9 Page ID
                                     #:2574




From: Artur Elizarov [maiIto:artur.eIizarovgmaiI.com]
Sent: Thursday, March 25, 202111:37 AM
To: Andrea Cross candrea'escrowofthewest,com>
Subject: Re: Unisom




Is coidwater bank on title report? IF not this makes it easier toclose. This unisom thing is amess so Idont
understand if that is the total payoff.




On Thu, Mar 25, 2021 at 11:24 AM Andrea Cross <andrea@escrowoflhewest.com> wrote:

Sent!




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    Before send i
                ng funds, always call your    Escrow learn   to verify wire   iuforniaiion




                                   Andrea Cross


                               Senior Escrow Officer




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                                                                              3
                                                                                                  EOTW_000148

                                                                                             Exhibit LL - 3
    Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 4 of 9 Page ID
                                     #:2575
                     P.(310)402-5555ext2071    IE-Fn    (310)402-5556


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              complete this short survey about your recent experience.




From: Artur EUzarov [maiIto:artur.eIizarovgmaflcomJ
Sent: Thursday, March 25, 202111:20 AM
To: Andrea Cross <andrea@escrowofthewest.com>
Subject: Re: Unisom




Can usend to Peter ASAP please




On Thu, Mar 25, 2021 at 2:19 PM Andrea Cross <andrew2.escrowofthewest.com> wrote:


 Revised   -




Can you send me copy of the mechanic lien? Its not showing on Prelim




                     WARNING! WIRE FRAUD ADVISORY

     Before sending thnds, always call your Escrow team to verify wile information




                                                                                          EOTW_000149

                                                                                     Exhibit LL - 4
   Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 5 of 9 Page ID
                                    #:2576




                                      Andrea Cross


                                  Senior Escrow Officer




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             complete    this short survey about your recent experience.




From: Artur Elizarov [mailto:artur.elizarov@gmaiLcom]
Sent: Thursday, March 25, 202111:16 AM
To: Andrea Cross candrea@escrowofthewest.com>
Subject: Re: Unisom




                                                                                5
                                                                                                     EOTW_000150

                                                                                                Exhibit LL - 5
  Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 6 of 9 Page ID
                                   #:2577
Jourymen Construction, LLC




On Thu, Mar 25, 2021 at 11:14 AM Artur Elizarov <artur.elizarov                         gmail.com> wrote:


no the 107 is not coidwater its alean for consturciotn.




On Thu, Mar 25, 2021 at 11:13 AM Artur Elizarov <artur.elizarov                         i gmail.corn>   wrote:


 Yes please




 On Thu, Mar 25, 2021 at 2:12 PM Andrea Cross <andrea@escrowofthewest.com> wrote:

  Please see attached and let me know if approved to send?




                       WARNING! WIRE FRAUD ADVISORY

      Before sending funds, always call your l:scrow team to verify wire inibrniation




                                      Andrea Cross

                                  Senior Escrow Officer




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                                                                                                                 EOTW_000151

                                                                                                          Exhibit LL - 6
Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 7 of 9 Page ID
                                 #:2578
                     P. (310)402-5555 ext. 2071   1
                                                  E;Fax. (310)402-5556


                                   Direct. (,1(1)402-5 ,170


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              complete this short survey about your recent experience.




From: Artur Etizarov [maiIto:artur.elizarov@gmaihcom]
Sent: Thursday, March 25, 202111:06 AM
To: Andrea Cross <andreaescrowofthewest.com>
Subject: Re: Unisom




anyway to include the incoming lean amount and just send it to them so they can figure out what they are
going to waive? The amount is 107,270.




On Thu, Mar 25, 2021 at 10:42 AM Andrea Cross <andrewä)escrowofthewest.eom> wrote:

Will do!




                     WARNING! WIRE FRAUD ADVISORY

     Before sending funds, always call your Escrow team to verify wite   into




                                                                    7
                                                                                           EOTW_000152

                                                                                      Exhibit LL - 7
Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 8 of 9 Page ID
                                 #:2579




                                       Andrea Cross

                                   Senior Escrow Officer




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                                      Direct (310)402-5470




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   We are alwayslooking lbr ways to improve our service. Please lake amoment       to
             complete this short survey about your recent experience.




From: Artur Elizarov [maiIto:artur.eHzarovgmail.com]
Sent: Thursday, March 25, 202110:42 AM
To: Andrea Cross candrea@escrowofthewest.com>
Subject: Unisom




                                                                                             EOTW_000153

                                                                                        Exhibit LL - 8
Case 5:21-cv-00616-JWH-SP Document 183-25 Filed 09/07/22 Page 9 of 9 Page ID
                                 #:2580
Andrea-




Can you provide the Unisom Letter along with just the closing costs and purchase price to Pete at
coidwater bank. Please tell him you are still working on the the full itemized closing statement and will
provide once its ready.




                                                 9
                                                                                         EOTW_000154

                                                                                  Exhibit LL - 9
